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 1                           UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
 2                                EASTERN DIVISION

 3       ------------------------------X
         UNITED STATES OF AMERICA,     :           Case No. 1:20-cr-00343-SO
 4                                     :           Cleveland, Ohio
                    Plaintiff,         :
 5                                     :
               v.                      :           Wednesday, May 19, 2021
 6                                     :           11:09 a.m.
         MUSTAFAH OMAR HAWKINS,        :
 7                                     :
                                       :
 8                  Defendant.         :
         ------------------------------X
 9

10

11                  (Proceedings Held via Zoom Videoconference)

12          TRANSCRIPT OF CHANGE OF PLEA AND SENTENCING PROCEEDINGS

13                   BEFORE THE HONORABLE SOLOMON OLIVER, JR.

14                      SENIOR UNITED STATES DISTRICT JUDGE

15

16       Court Reporter:                Donnalee Cotone, RMR, CRR, CRC
                                        Realtime Systems Administrator
17                                      United States District Court
                                        801 West Superior Avenue
18                                      Court Reporters 7-189
                                        Cleveland, Ohio 44113
19                                      216-357-7078
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20

21

22

23

24       Proceedings recorded by mechanical stenography, transcript

25       produced by computer-aided transcription.
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 1       APPEARANCES:

 2

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20       Special Agent:               PETER MAURO, FBI

21

22

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24

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            1                   MORNING SESSION, WEDNESDAY, MAY 19, 2021

            2                      (Proceedings commenced at 11:09 a.m.)

            3                                         - - -

            4                         DEPUTY CLERK:      The case before the Court

11:10:34    5       carries Case Number 1:20-cr-343, United States of America v.

            6       Mustafah O. Hawkins.

            7                         THE COURT:     All right.     Good morning to

            8       everybody.

            9                         PARTICIPANTS EN MASSE:        (Exchange of

11:10:53 10         pleasantries.)

           11                         THE COURT:     This is a hearing for two

           12       purposes: The first is for me to determine whether the

           13       defendant is entering a knowing and voluntary plea, and then

           14       the second is for the purpose that if I find that he is or

11:11:07 15         has entered a knowing and voluntary plea, that we will

           16       proceed to sentencing in the case because we have a

           17       presentence report, and that has been reviewed by the

           18       parties.

           19               We are conducting these proceedings by way of Zoom

11:11:27 20         videoconference during this period where coronavirus is

           21       still posing some threat, but things are getting better.

           22               So let me have counsel for the United States to

           23       introduce herself for the record.

           24                         MS. MAKRIDIS:      Good morning, Your Honor.

11:11:40 25                 Yasmine Makridis on behalf of the United States.
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            1                         THE COURT:     All right.     And then I'll have

            2       counsel for defendant, Mustafah Omar Hawkins, to introduce

            3       himself for the record.

            4                         MR. FLEMING:     Good morning, Your Honor.

11:11:51    5               Charles Fleming on behalf of Mr. Hawkins, who is also

            6       appearing by video.

            7                         THE COURT:     All right.     And then let me have

            8       counsel -- not counsel -- the pretrial probation officer to

            9       introduce himself for the record.

11:12:02 10                           PRETRIAL SERVICES OFFICER:         Good morning,

           11       Your Honor.

           12               Christopher Woo.

           13                         THE COURT:     All right.     Now, the record should

           14       reflect, as Mr. Fleming said, that Mr. Hawkins is here by

11:12:12 15         Zoom videoconference like the rest of us.

           16               Is that true, Mr. Hawkins?

           17                         THE DEFENDANT:      Yes, Your Honor.

           18                         THE COURT:     All right.     And, Mr. Fleming, did

           19       you talk to him about the possibility that he could wait and

11:12:22 20         be sentenced in the courtroom as -- after the -- some of the

           21       threats have cleared up from the coronavirus, or he could go

           22       ahead and be sentenced today by Zoom videoconference?

           23               Did you talk about that?

           24                         MR. FLEMING:     Yes, we did, Your Honor.

11:12:40 25                 We discussed the fact that he has a right to appear in
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            1       person before the Court to have both his change of plea and

            2       sentencing conducted, but that the Court is conducting these

            3       matters by videoconference because of the coronavirus

            4       pandemic.     And he indicated that he is agreeable to proceed

11:12:59    5       by way of video in light of that.

            6                         THE COURT:     All right.

            7               So, Mr. Hawkins, so you'll waive any right you have to

            8       come into the courtroom, and you agree to proceed by

            9       videoconference today?

11:13:13 10                           THE DEFENDANT:      Yes, Your Honor.

           11                         THE COURT:     All right.

           12               Now, raise your right hand.         I'll have my courtroom

           13       deputy swear you in.

           14                                 (Defendant sworn.)

11:13:32 15                           THE COURT:     Mr. Hawkins, before I can accept a

           16       plea from you, I have to satisfy myself that you know what

           17       you're doing and you're doing it voluntarily.              In order for

           18       me to make that determination, I'll have to ask you some

           19       questions.     None of the questions I ask you are meant to put

11:13:48 20         you down as a human being.         The questions I ask are asked so

           21       I can gain the information I need so I can make the

           22       determinations I have to make.

           23               Do you understand that?

           24                         THE DEFENDANT:      I do, Your Honor.

11:14:00 25                           THE COURT:     All right.     So state your full
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            1       name for the record.

            2                         THE DEFENDANT:      Mustafah Omar Hawkins.

            3                         THE COURT:     Okay.   Are you known by any other

            4       names?

11:14:09    5                         THE DEFENDANT:      That would be it.

            6                         THE COURT:     Okay.   Do you understand,

            7       Mr. Hawkins, that you're now under oath, and that if you

            8       answer any of my questions falsely, your answers may later

            9       be used against you in another prosecution for perjury or

11:14:21 10         making a false statement?

           11                         THE DEFENDANT:      I do, Your Honor.

           12                         THE COURT:     How old are you?

           13                         THE DEFENDANT:      I'm 28, Your Honor.

           14                         THE COURT:     And how far did you go in school?

11:14:30 15                           THE DEFENDANT:      11th grade.

           16                         THE COURT:     Okay.   You have not received a GED

           17       yet, have you?

           18                         THE DEFENDANT:      No, I have not.

           19                         THE COURT:     Okay.   But can you read?

11:14:39 20                           THE DEFENDANT:      Yes.

           21                         THE COURT:     Can you write?

           22                         THE DEFENDANT:      Yes, Your Honor.

           23                         THE COURT:     Have you been treated recently for

           24       any mental illness?

11:14:47 25                           THE DEFENDANT:      No, Your Honor.
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            1                         THE COURT:     Have you been treated recently for

            2       addictions to narcotic drugs of any kind?

            3                         THE DEFENDANT:      No, Your Honor.

            4                         THE COURT:     Are you today under the influence

11:14:57    5       of any drug, medication, or alcoholic beverage of any kind?

            6                         THE DEFENDANT:      I am not, Your Honor.

            7                         THE COURT:     Now, you received a copy of the

            8       indictment in this case, didn't you?

            9                         THE DEFENDANT:      Yes, Your Honor.

11:15:08 10                           THE COURT:     And you understand that the

           11       indictment contains the written charges against you?

           12                         THE DEFENDANT:      I do, Your Honor.

           13                         THE COURT:     Have you had a chance to fully

           14       discuss those charges and your case in general with your

11:15:20 15         counsel, Mr. Fleming?

           16                         THE DEFENDANT:      I have, Your Honor.

           17                         THE COURT:     Are you fully satisfied with the

           18       counsel, representation, and advice given to you in this

           19       case by Mr. Fleming, as your attorney?

11:15:31 20                           THE DEFENDANT:      Yes, I am, Your Honor.

           21                         THE COURT:     All right.     Now, Mr. Fleming, he's

           22       pleading to the indictment; is that right?

           23                         MR. FLEMING:     That's correct, Your Honor.

           24                         THE COURT:     All right.     Mr. Hawkins, before

11:15:44 25         you agree to plead to the indictment, you had a chance to
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            1       talk with Mr. Fleming about this?

            2                         THE DEFENDANT:      Yes, I have, Your Honor.

            3                         THE COURT:     And you had a chance to talk with

            4       him about your case in general; is that right?

11:15:57    5                         THE DEFENDANT:      Yes, I have, Your Honor.

            6                         THE COURT:     And did you have a chance to share

            7       with him any thoughts or ideas that you had about your own

            8       case?

            9                         THE DEFENDANT:      I have, Your Honor.

11:16:06 10                           THE COURT:     And was he able to share with you

           11       any information that he may have received from the

           12       Government bearing on your case?

           13                         THE DEFENDANT:      Yes, I have, Your Honor.

           14                         THE COURT:     Okay.   Now, in the final analysis,

11:16:20 15         Mr. Fleming can advise, but you knew that you had to be the

           16       one to make a decision as to whether you're going to enter a

           17       plea.

           18               You understood that, right?

           19                         THE DEFENDANT:      Yes, I do, Your Honor.

11:16:30 20                           THE COURT:     Okay.   And you made up your mind

           21       that you wanted to enter a plea to the indictment?

           22                         THE DEFENDANT:      Yes.   Yes, Your Honor.

           23                         THE COURT:     Has anyone made any promises to

           24       you in an effort to get you to enter a plea here?

11:16:43 25                           THE DEFENDANT:      No, they have not, Your Honor.
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            1                         THE COURT:     Has anyone attempted in any way

            2       to -- has anyone threatened you in any way to get you to

            3       enter a plea?

            4                         THE DEFENDANT:      No, they have not, Your Honor.

11:16:55    5                         THE COURT:     Has anyone attempted in any way to

            6       force you to plead guilty in this case?

            7                         THE DEFENDANT:      No, they have not, Your Honor.

            8                         THE COURT:     Now, do you understand that the

            9       offense to which you wish to plead guilty is a felony, and

11:17:12 10         if I accept your plea and find you guilty of that offense,

           11       you may be deprived of certain valuable civil rights, such

           12       as the right to vote, the right to hold public office, the

           13       right to serve on a jury, and the right to possess any kind

           14       of firearm?

11:17:29 15                           THE DEFENDANT:      I do, Your Honor.

           16                         THE COURT:     Now, we're going to talk about

           17       possible penalties for the crime to which you wish to plead

           18       guilty.

           19               First we'll talk about the maximum possible penalties

11:17:39 20         for that crime.      That's the most you can get.

           21               When I talk to you about the most you could get, I'm

           22       not saying you will necessarily get the most.              But because

           23       you're making a decision to enter a plea and I'm not

           24       sentencing you yet, I have to make sure you understand that

11:17:54 25         as well as other information.
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            1               Do you understand that?

            2                         THE DEFENDANT:      I do, Your Honor.

            3                         THE COURT:     But after we talk about the

            4        maximum, we're going to talk about sentencing guidelines,

11:18:03    5        and that's especially important.          Because we have sentencing

            6        guidelines in the federal court.          They are advisory; they're

            7        not mandatory, but I still have to seriously consider the

            8        guidelines as well as other things before I arrive at a

            9        sentence.     And so we'll talk about the guideline range and

11:18:19 10          what you're likely to face before we move from there.

           11               So let me turn to the Assistant U.S. Attorney here and

           12        ask her if she would put on the record, Ms. Makridis, what

           13        the maximum possible penalties are.

           14                         MS. MAKRIDIS:      Certainly, Your Honor.

11:18:39 15                 The potential penalties are up to five years

           16        incarceration, up to $250,000 in fines, up to three years of

           17        supervised release, and a $100 special assessment.

           18               Thank you, Your Honor.

           19                         THE COURT:     Thank you.

11:18:51 20                 Mr. Fleming, do you agree that those are the maximum

           21        possible penalties?

           22                         THE DEFENDANT:      I do, Your Honor.

           23                         THE COURT:     Okay.

           24                         MR. FLEMING:      Yes, Your Honor.      I do.

11:19:00 25                           THE COURT:     Okay.    And, Mr. Hawkins, you
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            1        understand that, that those are the maximum possible

            2        penalties; is that right?

            3                         THE DEFENDANT:      I do, Your Honor.

            4                         THE COURT:     Okay.    Now, we have the

11:19:11    5        presentence investigation report.          We don't always have that

            6        when we do a change of plea, but we have it now.              So we can

            7        look to that as a starting place to see what your guideline

            8        range might be.

            9               The pretrial probation officer has indicated that he

11:19:33 10          would recommend -- he has recommended that I find if you're

           11        given acceptance of responsibility, that you have what's

           12        called an offense level of 12.          That's one piece of

           13        information we need to get that guideline range.

           14               It's as if crimes are ranked.          So the most serious

11:19:50 15          crimes get the higher numbers.          So in terms of crimes, all

           16        crimes are serious, and this is certainly a serious crime,

           17        but it's not ranked as high as some others might be ranked.

           18        And so you come out at a 12 if I were to adopt what was

           19        recommended.

11:20:10 20                 Then I look at your background to see whether you have

           21        prior convictions and whether they count for purposes of

           22        determining what we call a criminal history category,

           23        because that's the other piece of information we need.

           24               And I -- the officer has recommended that I find you

11:20:24 25          have, I think, zero criminal history points.             That would be
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            1        a Criminal History Category I.          That's the best category to

            2        be in if you're going to be in federal court being

            3        sentenced.     There are six categories.        VI is the highest and

            4        I is the lowest category.

11:20:39    5                 So having those two pieces of information, offense

            6        Level 12, and Criminal History Category I, I can go to a

            7        chart in the back of the guideline manual and look at what

            8        the range would be.       And the range, guideline range, at that

            9        level would be 10 and 16 months, and then there are some

11:21:06 10          options there that are available in the context of that.

           11                 But, Mr. Fleming, is that correct, or do you agree

           12        with that?

           13                         MR. FLEMING:      Yes, Your Honor.      That's

           14        correct.

11:21:19 15                           THE COURT:     All right.     Ms. Makridis, do you

           16        agree?

           17                         MS. MAKRIDIS:      I do, Your Honor.

           18                         THE COURT:     Okay.    So under the guidelines,

           19        that's what you're facing.         And then, of course, your

11:21:31 20          counsel, Mr. Fleming, will be able to speak for you, and

           21        then you'll have a chance to speak for yourself if you wish

           22        to speak, and then I'll hear Ms. Makridis.             And so I will

           23        consider the guidelines, but also everything else that's

           24        said to me.

11:21:44 25                   Do you understand that process?
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            1                         THE DEFENDANT:      I do, Your Honor.

            2                         THE COURT:     Now, you understand that you have

            3        a right to plead not guilty, Mr. Hawkins, and stick with a

            4        not guilty plea and go to trial in this case if that's what

11:22:05    5        you want to do.

            6               Do you understand that?

            7                         THE DEFENDANT:      I do, Your Honor.

            8                         THE COURT:     And if you decided to go to trial,

            9        you have a right to trial by jury.           At that trial, you would

11:22:13 10          be presumed innocent, and the Government would have to prove

           11        your guilt beyond a reasonable doubt.           And you'd have the

           12        right to the assistance of counsel for your defense.                  You'd

           13        have the right to see and hear all of the witnesses and have

           14        them cross-examined in your defense.           You'd have the right

11:22:27 15          on your own part to decline to testify unless you

           16        voluntarily elected to do so because that's your

           17        constitutional right.       It could not be held against you.

           18        And you'd have the right to compel the attendance of any

           19        witnesses who might testify in your favor, if there were

11:22:38 20          such witnesses.

           21               Do you understand that?

           22                         THE DEFENDANT:      I do, Your Honor.

           23                         THE COURT:     Do you further understand that by

           24        entering a plea of guilty here today if I accept it, that

11:22:45 25          you're not going to have a trial and you will have waived or
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            1        given up your right to trial as well as all those other

            2        rights associated with a trial that I've just described to

            3        you?

            4                         THE DEFENDANT:      Yes, I do, Your Honor.

11:22:58    5                         THE COURT:     Now, you're charged in Count 1

            6        with interstate communication threat.           I'm not going to go

            7        through the details of what was involved here, but I would

            8        ask you, did you do what you're charged with doing in that

            9        Count 1?

11:23:21 10                           THE DEFENDANT:      I'm sorry, Your Honor?

           11                         THE COURT:     Did you do what you're charged

           12        with?

           13                         THE DEFENDANT:      I did, Your Honor.

           14                         THE COURT:     All right.     Then I'd ask

11:23:29 15          Ms. Makridis to make a brief representation concerning the

           16        facts the Government would be prepared to prove at trial had

           17        the case gone to trial.

           18                         MS. MAKRIDIS:      Thank you, Your Honor.

           19                And just for purposes of this hearing, I'm going to

11:23:42 20          not say the expletives involved in the postings.

           21                But the general allegations are that from on or about

           22        May 31st of 2020, to on or about June 2nd of 2020, in the

           23        Northern District of Ohio, Eastern Division, Mr. Mustafah

           24        Omar Hawkins did knowingly and willfully transmit in

11:23:58 25          interstate and foreign commerce from Cleveland, Ohio,
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            1        communications, which when viewed together, threatened to

            2        injure persons and law enforcement officers.             Facebook.com

            3        public postings, which included several threats, including

            4        expletives, involving the potential bombing and throwing of

11:24:20    5        Molotov cocktails in Little Italy in the Cleveland area.

            6               Thank you, Your Honor.

            7                         THE COURT:     Thank you, Counsel.

            8               Mr. Mustafah Omar Hawkins, how do you now plead to the

            9        charge against you in Count 1 of the indictment?              Guilty or

11:24:39 10          not guilty?

           11                         THE DEFENDANT:      Guilty.

           12                         THE COURT:     It's the finding of this Court in

           13        the case of the United States of America v. Omar -- I'm

           14        sorry -- Mustafah Omar Hawkins, Case Number 1:20-cr-343,

11:24:52 15          that the defendant is fully competent, capable of entering

           16        an informed plea, that he is aware of the nature of the

           17        charges, the consequences of the plea, and that his plea of

           18        guilt is a knowing and voluntary plea supported by an

           19        independent basis in fact containing each of the essential

11:25:10 20          elements of the offense.

           21               Therefore, Mr. Hawkins, I accept your plea.             I find

           22        you guilty of the offense charged in Count 1 of the

           23        indictment.

           24               We will now move forward to the sentencing.

11:25:22 25                 Mr. Fleming, you received a copy of the presentence
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            1        investigation report, did you not?

            2                         MR. FLEMING:      I did, Your Honor.

            3                         THE COURT:     And you went over that report with

            4        Mr. Hawkins?

11:25:31    5                         MR. FLEMING:      I did, Your Honor.

            6                         THE COURT:     And there are no outstanding

            7        objections to the report; is that correct?

            8                         MR. FLEMING:      No, Your Honor.

            9               We had one suggestion as to what we thought would be

11:25:45 10          appropriate to be included in the report, and it was, so we

           11        have no outstanding objections.

           12                         THE COURT:     All right.     Mr. Hawkins, you heard

           13        your counsel say he reviewed the report with you; is that

           14        correct?

11:25:56 15                           THE DEFENDANT:      It is, Your Honor.

           16                         THE COURT:     All right.     Ms. Makridis, did you

           17        review the report?

           18                         MS. MAKRIDIS:      I did, Your Honor.       Thank you.

           19               And no objections.

11:26:02 20                           THE COURT:     All right.     Thank you.

           21               So I think we can move ahead fairly quickly through

           22        the first part of the sentencing.

           23               I referred before when we're talking about the change

           24        of plea, Mr. Hawkins, to the sentencing guideline range, and

11:26:20 25          so I am going to adopt what the pretrial probation officer
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            1        proposed.

            2                 So we would start out with the interstate

            3        communications threat, which starts out at a 12.              But

            4        because there was more than two threats, that gets -- two

11:26:36    5        additional levels gets added.         That gets you to an adjusted

            6        offense level of 14.

            7                 Because I find you have accepted responsibility for

            8        the crime you have committed based on the information I have

            9        reviewed, I will give you two levels off for acceptance.                   So

11:26:51 10          that would get you down to the total offense level of 12.

           11                 And then looking at your criminal history category,

           12        you don't have any convictions that count.             You've had a

           13        couple of misdemeanors before, but they don't count for

           14        purposes of the guideline range.          And so you have a score of

11:27:11 15          zero, Category I, and the range is 10 to 16 months.

           16                 Let me ask, Mr. Woo, in that range, what are the

           17        options?

           18                 Even without varying, are there options within that

           19        range?

11:27:31 20                           PRETRIAL SERVICES OFFICER:         Yes, Your Honor.

           21                 The defendant can be just sentenced to a straight term

           22        of imprisonment, or he can also be sentenced to a split

           23        sentence where at least half of the sentence must be served

           24        by imprisonment, and then the other half could be served by

11:27:50 25          location monitoring or home confinement.
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            1                         THE COURT:     So -- yeah.     So those options are

            2        there, even without a variance, but I just wanted to clarify

            3        that going in.

            4               So with that said, the next thing we're going to do,

11:28:10    5        Mr. Hawkins, is hear from your counsel, Mr. Fleming, so he

            6        can make any comments he wishes to make on your behalf.

            7               Then after he's spoken, you have a right to speak.

            8        You're not required to say anything, but if there's

            9        something you want to say, you would speak right after

11:28:27 10          Mr. Fleming.     And then I would hear from Ms. Makridis.              And

           11        then I think I'd be prepared to go ahead and sentence you.

           12        So that's the process we will follow.

           13               Mr. Fleming.

           14                         MR. FLEMING:      Thank you, Your Honor.

11:28:35 15                 Your Honor, Mr. Hawkins, at the time that these

           16        incidents occurred where he was making these postings on

           17        Facebook, these were very racially, emotionally, and

           18        politically charged times, because this was right on the

           19        heels of the murder of George Floyd by the Minneapolis

11:29:00 20          police.    And as we know now, a police officer has been

           21        convicted of murder for that, and there are still pending

           22        charges federally.

           23               So this is a young man, who like many across the

           24        country, was caught in the throws of that, was emotionally

11:29:17 25          charged about it, and unfortunately, he took to Facebook to
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            1        say the things that he was thinking at the time.

            2               What we know is that he was neither ready, willing, or

            3        able to -- at least ready or able -- to back up what he was

            4        saying on Facebook, because at the time of his arrest, he

11:29:40    5        had none of the things that he would have needed in order to

            6        be able to fulfill the kinds of things that he was saying on

            7        Facebook.

            8               So I submit to the Court that this was just someone

            9        who was venting, and albeit inappropriate to do that on

11:29:56 10          Facebook, and there are consequences to doing that on

           11        Facebook, that that's something that should be taken into

           12        consideration.

           13               Now, Mr. Hawkins, I believe, was arrested on -- in

           14        early June and then was released on bond, as I understand

11:30:13 15          it, in November.

           16               Now, as Mr. Woo stated, there -- one of the options

           17        that the Court has, should the Court choose to, would be to

           18        give him a split sentence.

           19               I would submit to the Court that at least

11:30:31 20          theoretically speaking, he's already satisfied that.

           21        Because he was in jail from June to November, which is

           22        approximately five months, and then the Court was kind

           23        enough to take a chance on him and release him on bond in

           24        November.

11:30:44 25                 So he's been on home confinement for the last six
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            1        months -- over six months, really.           Approximately six and a

            2        half months.     So in total we're talking about more than 11

            3        months between his incarceration and his time on home

            4        confinement.

11:31:02    5                So he's already -- if the Court were amenable to a

            6        split sentence type situation, he's already satisfied that.

            7                So my suggestion to the Court by way of a downward

            8        variance, Your Honor, is that the Court simply place him on

            9        probation at this point for a year.

11:31:19 10                  He's done well on supervision for the last six months.

           11        He has been employed for most of the time that he's been on

           12        supervision through a staffing agency and has maintained

           13        that employment.      He has not had -- he has not had any

           14        problems in terms of testing positive for drugs or alcohol.

11:31:37 15                  So, Your Honor, I think he's shown this Court that

           16        he's amenable to supervision.         I think he's shown this Court

           17        that he's accepted responsibility.           I think he's shown this

           18        Court that a period of probation for a period of one year is

           19        appropriate to deal with this situation, and we would ask

11:31:56 20          that the Court impose a period of probation.

           21                We'd also ask, Your Honor, that the Court not impose a

           22        fine other than the mandatory special assessment in this

           23        case.    While Mr. Hawkins is working, he's indigent, as

           24        determined by the Court, and as evidenced by the fact that

11:32:17 25          I've been appointed to represent him.
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            1               So those are what we would ask the Court to do,

            2        Your Honor, given the circumstances.

            3                         THE COURT:     Thank you, Mr. Fleming.

            4               Mr. Hawkins, do you wish to speak?

11:32:31    5                         THE DEFENDANT:      I don't, Your Honor.

            6                         THE COURT:     All right.     Ms. Makridis.

            7                         MS. MAKRIDIS:      Thank you, Your Honor.

            8               We're just respectfully requesting a guideline

            9        sentence that would involve some period of probation.

11:32:44 10                 As the Court is aware, these are serious threats that

           11        were made via Facebook to not only law enforcement, but also

           12        to the public.      Threats that involved the use of firearms

           13        and explosives, threats to burn down entire communities in

           14        the Cleveland area.

11:32:59 15                 I understand that Mr. Hawkins was upset and that this

           16        was a difficult and emotional time, but that doesn't excuse

           17        his conduct, and this is not the way to express oneself.                   He

           18        caused alarm to law enforcement and forced them to divert

           19        resources to apprehending him and assessing the threat that

11:33:17 20          he was to the community during a time when they were doing

           21        their best to manage the situation.

           22               So based on all those things, Your Honor, I would just

           23        respectfully request a guideline sentence.

           24               Thank you, Your Honor.

11:33:29 25                           THE COURT:     Thank you.
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            1               Mr. Woo, help me to understand again.            Is probation,

            2        is that a variance or is that -- can a guideline sentence be

            3        given that includes both probation?

            4                         PRETRIAL SERVICES OFFICER:         A sentence of

11:33:44    5        probation would be a variance, Your Honor, since -- if he

            6        gets credit for the five months that he's served, or if he

            7        was sentenced to five months custody, he would get credit

            8        for those five months, but he would still be placed on three

            9        years supervised release, and then to satisfy the other five

11:34:05 10          months, would need to be placed on home confinement for five

           11        months.

           12                         THE COURT:     Okay.     I'm just trying to get, you

           13        know, what the guidelines require.

           14               Mr. Fleming requested probation.           I thought that

11:34:19 15          Ms. Makridis said the guideline, but she also referred to

           16        probation.

           17               Am I wrong about that?

           18                         MS. MAKRIDIS:      No.   That's correct,

           19        Your Honor.

11:34:28 20                 It's my understanding from a reading of the

           21        guidelines -- and Mr. Woo can correct me if I'm wrong --

           22        that since he did a period of home confinement as well as a

           23        period of incarceration, that if he was given time served

           24        for those things, that it would be a guideline sentence and

11:34:44 25          then continued probation.        But I could be wrong on my
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            1        assessment of the guidelines, and I apologize for that.

            2               Thank you, Your Honor.

            3                         THE COURT:     All right.     Let me -- so I'll go

            4        to Mr. Woo.

11:34:53    5               That's not the way I understand it works.

            6               If I were doing a guidelines sentence and giving him

            7        the best I could do under the guideline provisions with the

            8        options that are there, then I would have to give him five

            9        months incarceration followed by five months, say, home

11:35:22 10          confinement, electronic monitoring.

           11               If I wanted to vary, but still give him credit for

           12        time served, I would have to -- I could give him five --

           13        credit for the time served, five or six months.              I wouldn't

           14        have to put him on home detention electronic monitoring.

11:35:45 15          That would be a variance.        And then he would need some

           16        period of supervised release to follow.

           17                         PRETRIAL SERVICES OFFICER:         Yes.

           18                         THE COURT:     So it wouldn't be probation, but

           19        it would be similar.       But it wouldn't be probation.          So

11:35:58 20          that's obviously an option with a variance.             It's not to

           21        require him, if he's done well on pretrial detention, to go

           22        forward.

           23               I don't think he would get credit, Mr. Fleming, for

           24        the home confinement while he's out on bond.             That's my --

11:36:19 25                           MR. FLEMING:      Your Honor.
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            1                         THE COURT:     Yeah.

            2                         MR. FLEMING:      I'm sorry, Your Honor.        I hope I

            3        didn't interrupt the Court.

            4               And you're exactly right, and which is why we

11:36:29    5        called -- what we called what I asked for a variance.

            6               We know that normally in that guideline range -- I

            7        think the Court is absolutely correct.

            8               Normally in that guideline range the lowest sentence

            9        that the Court could give would be a 10-month sentence as a

11:36:44 10          split sentence, which would be five months of incarceration

           11        and followed by five months of home confinement while on

           12        supervised release because he's been given credit for

           13        incarceration.

           14               What I'm asking the Court to do is a hybrid of that,

11:36:58 15          and that's why I'm calling it a variance.

           16               I'm asking the Court simply to take into consideration

           17        that he's already done five months of incarceration, and to

           18        take into consideration that he's already done six months on

           19        home confinement and has done well.

11:37:12 20                 So taking all of that into consideration and that

           21        that's beyond what the guideline would normally require,

           22        practically speaking, that the Court can take that into

           23        consideration and vary and say, "Look, at this point, I'm

           24        just going to put him on probation."

11:37:30 25                 And that's what we're asking the Court to do.
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            1                         THE COURT:     All right.     I understand your

            2        position.

            3                Now -- and I could do that, I think, Mr. Woo, with a

            4        variance, is that right, because I could put him on

11:37:46    5        probation anyway with a variance.          Whether it would be the

            6        right thing to do, if he hadn't served any time, would be a

            7        different question.

            8                But if he came before me with a guideline range, the

            9        criminal history category he has now, and Mr. Fleming argued

11:38:01 10          for probation, and obviously Ms. Makridis would argue for

           11        something else, and I made the decision that I was going to

           12        grant probation, that would be a variance -- that would be a

           13        variance; is that right?

           14                         PRETRIAL SERVICES OFFICER:         Yes, Your Honor.

11:38:15 15                           THE COURT:     Okay.

           16                Now, Ms. Makridis, where are you on this?

           17                I think that in terms of practical import, you're not

           18        opposed to what Mr. Fleming says, but I don't know whether

           19        procedurally you have any comments.

11:38:34 20                           MS. MAKRIDIS:      No, Your Honor.

           21                I practically am on board with what Mr. Fleming is

           22        saying, and it was just a misreading of the guidelines on my

           23        part.    But I agree that probation is the appropriate action

           24        here.

11:38:45 25                  Thank you, Your Honor.
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            1                         THE COURT:     Okay.    All right.     Thank you.

            2               Okay.    Mr. Hawkins, my responsibility is to impose a

            3        sentence that's sufficient, but not greater than necessary,

            4        to comply with the purposes of the statute.             In doing that,

11:39:10    5        I have to look at a number of things.

            6               One is the history and characteristics of the

            7        defendant.     That's you.     The other is the nature and

            8        circumstances of the offense.         Then I have to impose a

            9        sentence that serves as a deterrent to criminal conduct that

11:39:28 10          is supposed to protect the public from further crimes by

           11        you.   Also, to the extent possible, I am to provide a

           12        sentence that gives you needed educational, vocational

           13        training, and medical care in the most effective manner, and

           14        I have to look at the kinds of sentences available.               And so

11:39:50 15          I'm looking at all of those things.

           16               I looked at your background because I'm allowed to

           17        look at that.     Some people have rougher upbringings than

           18        others.    Sometimes you can see the clear impact of that

           19        rough upbringing on their conduct in their life.              And even

11:40:08 20          though we're not here to let people off when they commit

           21        crimes, we can take into consideration kind of the

           22        background factors and come up with a sentence along with

           23        everything else.

           24               It looks like to me you -- even though you might have

11:40:25 25          lived in a poorer area and had some exposure to rough
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            1        situations, that it wasn't as rough as some that I see.

            2                It says you were not exposed to drugs or violence,

            3        that your mother worked.        She was able to provide for you.

            4        And that she did not abuse drugs or alcohol.             And so it

11:40:50    5        sounds like that was a relatively positive environment.

            6                It doesn't mean that there weren't negative things and

            7        rough things and so forth, but that's what I see.

            8                And you dropped out of school in the 11th grade.               You

            9        have always appeared to be able to get some kind of work.

11:41:13 10          At least you have a fairly decent work history as I look at

           11        it.   And it looks like you have some skill in the area of

           12        photography.

           13                You need to go ahead and get your GED and get that

           14        behind you.     I'll just say that as an aside.

11:41:33 15                  I don't see that there are mental health problems.

           16        Alcohol seems to have been a problem.           Although, you think

           17        you don't have -- you don't think you have an addiction.

           18                You -- the nature and circumstances of the offense.

           19        It was a rough time for all of America and some people

11:41:57 20          beyond America was looking at what happened here.              And

           21        people were taking to the streets, and the people were

           22        taking to the streets to protest the violence they saw by

           23        police officers in that one video.           It's not an indictment

           24        of all police officers.        It's not an indictment of that

11:42:18 25          kind.    But I think we all were there seeing those videos
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            1        played over and over again.         And I think it was the nature

            2        of the video in this particular occasion -- the one I'm

            3        talking about is the Floyd video -- that was so -- there are

            4        a lot that can get on your nerves, but this was one that was

11:42:38    5        so graphic.     And so -- but having said that, I mean, you saw

            6        what we saw, but you had to act like we act.

            7                If you had some legitimate way to protest, you had a

            8        right to do that, and you can do that.            And you can speak

            9        out to say that you find things to be reprehensible or

11:43:04 10          horrible or whatever.       You have a right to do all of those

           11        things.

           12                But you can't create mayhem or potentially do that,

           13        even if you couldn't carry through.           And when people see

           14        that, they don't know initially whether you can carry it

11:43:22 15          through or you will carry it through.           But certainly, it

           16        does impact law enforcement and our society.             And it's

           17        understandable that you would get some punishment for doing

           18        that.

           19                But it's not like you should be killed or you should

11:43:36 20          be thrown away, you know, or you should have to do 20 years.

           21        And I'm not excusing your conduct one bit, but we do have to

           22        take appropriate measures.

           23                Sometimes I do have to send people away for 10 years

           24        and 20 years and longer.        So it's not that we don't do that.

11:44:01 25          But this is one case where I hope you learn a lesson, and
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            1        that you'll come -- never come close to committing a crime

            2        again -- or a federal crime, especially this kind of thing.

            3        You now realize just how quickly you can be caught up in the

            4        law.   And I'm glad you got out on bond when you did, because

11:44:31    5        you could have overserved your time if you hadn't gotten out

            6        when you did.     And I do have a lot defendants who have been

            7        sitting for a year or two years.          Of course, their sentences

            8        are likely to be longer, and they get credit.

            9               So I'm glad you got out.         It looks like you've been

11:44:51 10          working, you are working now.         I think it's best if you're

           11        able to continue to do that.

           12               And so I'm going to sentence you to a period of two

           13        years of probation.       And I'm going to do it at the request

           14        of your counsel because he asked for probation, and since

11:45:19 15          what you effectively would be serving or have served would

           16        be the same anyway, I'll call it that.

           17               But the reason I'm willing to do it is for the reasons

           18        that Mr. Fleming stated.        You got already five or six

           19        months, that if I gave you a prison sentence you would be

11:45:47 20          given credit for, and if I gave you that credit, you will

           21        have satisfied the guideline range if I would give you five

           22        months more on home confinement with electronic monitoring.

           23               It appears to me that -- well, from all the

           24        information I have, that you've done that five or six months

11:46:08 25          in waiting before you were on bond, and that you have since
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            1        that time been on home confinement, electronic monitoring

            2        without problems as far as have been reported to me.

            3               Mr. Woo will correct me if I'm wrong.

            4                         PRETRIAL SERVICES OFFICER:         No, Your Honor.

11:46:26    5        There's been no violations of his home confinement.

            6                         THE COURT:     All right.     So that's what I'm

            7        going to do.

            8               But I'm telling you, under the right circumstances

            9        people deserve another chance, and so I hope you -- I hope

11:46:44 10          you know how close you came here to have been involved in

           11        something that could have sent you away for a very long

           12        period of time.      So you can't do this.

           13               So I'm going to do that.         I'm going to give that

           14        sentence considering all of the facts, all of the facts.

11:47:06 15                           MR. FLEMING:      Thank you, Your Honor.

           16                         THE COURT:     So pursuant to the Sentencing

           17        Reform Act of 1984, it is the judgment of this Court that

           18        defendant Mustafah Omar Hawkins hereby is sentenced to a

           19        two-year term of probation.

11:47:20 20                 Upon -- let's see.       Strike that.

           21               So you shall report in person to the U.S. pretrial

           22        service and probation office in the district to which you

           23        are released within 72 hours.

           24               I've determined you're not able to pay a fine, so I

11:47:39 25          will waive that.      You are required to pay a special
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            1        assessment of $100, which is due immediately.             If you're not

            2        able to pay that now, you'll have to start paying on that

            3        through the Bureau of Prisons Inmate Financial

            4        Responsibility Program at no less than 10 percent of your

11:47:54    5        gross monthly income.

            6               When you're on probation, you must comply with the

            7        mandatory and standard conditions that have been adopted of

            8        this Court and are set forth in Part D of the presentence

            9        investigation report.

11:48:03 10                 You must comply with the following additional

           11        conditions:     You must refrain from any unlawful use of a

           12        controlled substance, submit to one drug test within 15 days

           13        of release from imprisonment and to at least two periodic

           14        drug tests thereafter as determined by the Court.

11:48:19 15                 I'm going to require you to participate in an approved

           16        program of substance abuse testing.           Now, depending on the

           17        outcome of the test, you may be required to engage in

           18        outpatient or inpatient substance abuse treatment as

           19        directed by the supervising officer.

11:48:34 20                 So I don't know whether you'll be -- have to have a

           21        program or not.      And you must abide by the rules of the

           22        treatment program if you have a treatment program.              A

           23        probation officer will supervise your participation in the

           24        program.    And you can't obstruct or attempt to obstruct or

11:48:51 25          tamper in any fashion with the efficiency and accuracy of
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            1        any prohibited substance testing.

            2               I'm going to put an alcohol restriction on you.                That

            3        actually seemed to be more serious, as I read it, than the

            4        drug one.     And sometimes these restrictions can be changed,

11:49:09    5        but right now it appears that we need to start you on one.

            6        And so I'm going to restrict you on that.

            7               When you're on probation, probation officers can

            8        search your property, person, house, residence, vehicle,

            9        papers, and computers, other electronic communications, data

11:49:32 10          storage devices, or media, under some circumstances.

           11               Now, those circumstances require that they have

           12        reasonable suspicion that you have violated a condition of

           13        supervision.     And they have to set out the areas to be

           14        searched which contain evidence of the violation.              And they

11:49:48 15          must conduct any search that they conduct at a reasonable

           16        time and in a reasonable manner.

           17               In other words, they just can't come to your house for

           18        no reason.     They have to have that reason -- have a reason.

           19        On your part, failure to submit to a search may be grounds

11:50:03 20          for revocation or release.         You must warn any of the

           21        occupants of the premises that you occupy that they may be

           22        subject to a search pursuant to this condition.

           23               That's the sentence I intend to impose.

           24               Before I finalize that sentence, though, Mr. Fleming,

11:50:17 25          any objections or anything I've overlooked?
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            1                         MR. FLEMING:      Your Honor, I would just simply

            2        ask the Court -- and we'll abide by whatever the Court's

            3        desire is -- but I would ask the Court to consider making

            4        the alcohol restriction simply to not the excessive use of

11:50:34    5        alcohol.

            6               He's been on supervision now for about six and a half

            7        months.    He has not tested positive for any elicit

            8        substances or alcohol use.         So I think he's shown everyone

            9        that he can abstain and keep it within reasonable limits.

11:50:52 10                 So I think, if the Court is amenable, I think it would

           11        be reasonable at this point to put him on a no excessive

           12        alcohol use limitation, and obviously, if that's -- if we

           13        see violations of that, then obviously the Court can always

           14        go back to no use at all.

11:51:08 15                           THE COURT:     All right.     Mr. Woo, I was looking

           16        at the recommendation, but in terms of drugs, I wasn't sure

           17        that I saw that that appeared to be a current problem.

           18               Am I right about that?

           19                         PRETRIAL SERVICES OFFICER:         That's correct,

11:51:24 20          Your Honor.

           21               The substance abuse treatment and testing condition is

           22        kind of like a catchall to include alcohol abuse, which is

           23        why it was included.

           24               However, I have no objection to an alcohol restriction

11:51:40 25          as far as no excessive use as opposed to a complete no
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            1        alcohol condition.

            2                         THE COURT:     How about that, Ms. Makridis?

            3                         MS. MAKRIDIS:      Your Honor, it would be my

            4        preference that it be no alcohol use at all.             I think that

11:51:55    5        there was some conversation that I had prior to the case

            6        being indicted where Mr. Hawkins had been terminated from

            7        some positions based on his alcohol consumption.

            8                I think that he's on a good path now, and I'd hate to

            9        see him deviate from that.         So I think that the -- the

11:52:13 10          Government's position would be that no alcohol would be the

           11        preference.

           12                Thank you, Your Honor.

           13                         THE COURT:     All right.     I'm always careful

           14        here.    I have put on no alcohol restrictions on some

11:52:25 15          defendants.     I am caught kind of going both ways on these.

           16        One reason I worry is I don't want to set a person up for

           17        absolute failure.      But at the same time, I do worry about

           18        Mr. Hawkins because I saw something in the presentence

           19        report, as you suggested, which showed that he definitely

11:52:51 20          had a problem, a major problem, on some occasions in having

           21        alcohol, and so that's what gave me concern.             You know, but

           22        I'm very careful when I put a restriction on because I

           23        don't -- you know, I don't want to become more entangled in

           24        personal lives than we should.

11:53:29 25                  I'll put on the no excessive alcohol, but I guess I'd
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            1        like the pretrial probation -- I'll leave the drug

            2        restriction in place, you know, and you can determine

            3        whether he needs any testing or so forth.            And I guess my

            4        request would be that if on the first occasion, if any, that

11:53:57    5        he has a problem with alcohol that you see -- detect

            6        anything there, don't wait.         Bring that to my attention.

            7               I know sometimes pretrial probation officers are

            8        working with -- I know they work with human beings and there

            9        are problems and they try to work them out before they get

11:54:16 10          to the Court.

           11               But I would say if there's something you can put in

           12        your system to say, "Judge says if there's any sign that

           13        there's a problem here, he wants to know on the first

           14        instance."

11:54:29 15                           PRETRIAL SERVICES OFFICER:         Yes, Your Honor.

           16        I can do that.

           17                         THE COURT:     Ms. Makridis, I understand your

           18        point, and I'm just -- you know, I'm about almost 50/50 on

           19        that one.     So I leaned the other way on it.          But I

11:54:45 20          appreciate what you say.        I saw what you saw.

           21               All right.     Any objections, Ms. Makridis, to the

           22        sentence or anything I've overlooked?

           23                         MS. MAKRIDIS:      No, Your Honor.      Thank you.

           24                         THE COURT:     All right.     Then that's the

11:55:02 25          sentence I am going to impose, the one that I indicated that
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            1        I would.

            2               Mr. Hawkins, you have a right to appeal from the

            3        judgment of conviction.        As a judge, I don't give you any

            4        assessment of whether I think you have good grounds or bad

11:55:17    5        grounds.    Judges don't do that.        They can't.     My

            6        responsibility is simply to make sure you know that you if

            7        wanted to appeal you'd have to file what's called a notice

            8        of appeal within 14 days of the judgment of conviction.

            9               Do you understand that?

11:55:30 10                           THE DEFENDANT:      I do, Your Honor.

           11                         THE COURT:     If you wanted to appeal and you

           12        could not afford counsel, I would appoint counsel for you.

           13               Do you understand that?

           14                         THE DEFENDANT:      I do, Your Honor.

11:55:39 15                           THE COURT:     And, Mr. Fleming, I'd ask you to

           16        speak with Mr. Hawkins to see whether or not there's

           17        anything he wishes to appeal.

           18               If he does, I'd ask you to file the notice of appeal

           19        for him.    We can always determine later whether you'd be the

11:55:51 20          right person to represent him throughout that appeal.

           21               Would you accept that responsibility?

           22                         MR. FLEMING:      Yes, Your Honor.

           23                         THE COURT:     All right.     Mr. Hawkins, people

           24        make mistakes.      Some are larger than others, and some are

11:56:11 25          harder to recover from.
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            1               Now, you've got a felony criminal record, and that

            2        always makes it harder for a person, too, sometimes

            3        employment and other kinds of things.

            4               But there's no reason why, if you approach this

11:56:26    5        responsibly, that you cannot recover from this and move

            6        forward with a productive life.

            7               But just bear in mind, there's some serious

            8        consequences to committing crimes, and especially when you

            9        are looking at some of these federal crimes having to do

11:56:46 10          with making threats, and there are reasons why there are

           11        these serious penalties.

           12               So learn how to do it the way the rest of us do it.

           13        Open your mouth wide if you've got something to say, but say

           14        it appropriately.      And if you want to get out there in the

11:57:09 15          street and do a lawful march, then by all means get out

           16        there and do that.       You see what effect it can have.             It did

           17        have a lot of an effect during the course of those

           18        demonstrations.      And it's not a new way of protesting.             It

           19        happened before.      And that's what you have to do.          You got

11:57:27 20          to stay inbounds.      And that's all I have to say.

           21               That's all I have.

           22                         MR. FLEMING:      Thank you, Your Honor.

           23                         THE COURT:     All right.

           24                         THE DEFENDANT:      Thank you.

11:57:36 25                           MS. MAKRIDIS:      Thank you, Your Honor.
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 1                         THE COURT:     All right.

 2                                         - - -

 3                      (Proceedings adjourned at 11:57 a.m.)

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 6                                C E R T I F I C A T E

 7

 8               I certify that the foregoing is a correct transcript

 9        from the record of proceedings in the above-entitled matter.

10

11         /s/ Donnalee Cotone           16th of August, 2021
           DONNALEE COTONE, RMR, CRR, CRC                DATE
12         Realtime Systems Administrator

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